
PER CURIAM:
In this claim, submitted for decision upon the pleadings, claimant seeks payment of the sum of $6,570.00. Claimant, an attorney at law, was appointed by the Circuit Court of Pleasants County to represent Jack Stephen Hart, who was charged with the commission of a felony. For his services, claimant was paid no more than the statutory limit imposed by West Virginia Code §51-11-8. This claim is for the amount exceeding the statutory limit and not paid by the respondent.
The Court has reviewed the facts here presented, and is of the opinion that the law governing these types of situations was enunciated by the Court in the case of George M. Cooper v. Administrative Office of the Supreme Court of Appeals, Claim No. CC-80-287 (1981). In denying an award in that claim, the Court refused to circumvent the “plain and unambiguous language” of Code 51-11-8:
“In each case in which an attorney is assigned under the provisions of this article to perform legal services for a needy person, he shall be conpensated for actual and necessary services rendered at the rate of twenty dollars per hour for work performed out of court, and at the rate of twenty-five dollars per hour for work performed in court, but the *432compensation for services shall not exceed one thousand dollars...”.
For the foregoing reasons, this claim must be denied.
Claim disallowed.
